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UNITED STATES DISTRICT COURT |
DISTRICT OF CONNECTICUT Pg
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a Telephonic Settlement Conference Calendar,

5 Honorable Donna F. Martinez, U. S. Magistrate Juuge
450 Main Street |
Hartford iG |

Chambers Room 262 a

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December 49, 2003 | :

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CASE NO. 3:03CV1352 (RNC) STATE OF CT vy. NORTHERN
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